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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES et al.                            :      Case No. 3:17-cv-00072

                 Plaintiffs                          :      Judge MOON
                                                            Mag. Judge HOPPE

                                                     :
          -v-

   JASON KESSLER et al.                              :

                                                     :
                 Defendants

   _______________________________________________________

                 MOTION TO WITHDRAW AS COUNSEL
   _______________________________________________________

          Now come Attorneys Elmer Woodard and James E. Kolenich and move to withdraw

   as Counsel for defendants Robert Ray and Christopher Cantwell.



                                      Respectfully Submitted,



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                                        CERTIFICATE OF SERVICE

          I certify the above was served on April 3, 2019 by the Court’s CM/ECF system and
   upon non ECF participants as follows:

   Loyal White Knights of the Ku Klux Klan                     Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                         c/o Andrew Anglin
   the Invisible Empire, Inc.                                  P.O. Box 208
   c/o Chris and Amanda Barker                                 Worthington, OH 43085
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